       Case 8:07-cr-00151-JSM-E_J Document 128 Filed 10/05/07 Page 1 of 6 PageID 171
A 0 245B (Rev 06/05) Sheet 1 -Judgment in a Criminal Case


                            UNITED STATES DISTRICT COURT
                                                  MIDDLE DISTRICT OF FLORIDA
                                                       TAMPA DMSION



UNITED STATES OF AMERICA                                       AMENDED JUDGMENT IN A CRIMINAL CASE
                                                               CASE NUMBER: 8:07-cr-lSl-T-3OEAJ
                                                               USM NUMBER: 49430-018
VS.


BENlTO ROBERTO ZUNIGA
                                                               Defendant's Attorney: David Secular, pda.

THE DEFENDANT:

-
X pleaded guilty to count(s) ONE of the Indicbnent.
-pleadednolo contendere to count(s) which was accepted by the court
-was found guilty on count(s) after a plea of not guilty.
TITLE & SECTION                     NATURE OF OFFENSE                            OFFENSE ENDED

46 U.S.C. $70506(a) and (b) and      Conspiracy to Possess With Iutent to        April 26,2007                        One
21 U.S.C. §960@)(l)(B)(ii)          Distribute Five Kilograms or More
                                    of Cocaine While on Board a Vessel
                                    Subject to the Jurisdiction of the
1                                   United States


       The defendant is sentenced as pmvlded in pages 2 through 6 of thisjudgment. The sentence is imposedpursuantto the Sentencing
Reform Act of 1984.

-The defendant has been found not guilty on count(s)
-
X Count(s) TWO of the Indictment is dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant must noW?y the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all lines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                 Date of Imposition of Sentence: September 26,2007




                                                                                  DATE: October   x,       2007
        Case 8:07-cr-00151-JSM-E_J Document 128 Filed 10/05/07 Page 2 of 6 PageID 172
A 0 245B (Rev 06/05) Shcct 2 - Imprisonment (Judgment in a Criminal Case)
Defendant:          BENITO ROBERTO ZUNIGA                                                                      Judgment - Page 2of 6
Case No.:           8:07-cr-15 1-T-30EAJ

                                                               IMPRISONMENT

        After considering the advisory sentencing guidelines and all of the factors identified in Title 18 U.S.C. 95
3553(a)(l)-(7), the court finds that the sentence imposed is sufficient, but not greater than necessary, to comply with
the statutory purposes of sentencing.


         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
a total term of ONE HUNDRED and SIXTY-EIGHT (168) MONTHS as to Count One of the Indictment




-
X The court makes the following recommendations to the Bureau of Prisons: The defendant shall be placed at either FCI
Coleman or FCI Fort Dix. The defendant shall participate in the UNICOR program.



-
X The defendant is remanded to the custody of the Unitcd Statcs Marshal.
- The defendant shall surrender to the United Statcs Marshal for this district.
          - at -a.m./p.m. on -.
          -as notified by the United States Marshal.
- The defendant shall surrencier for service of sentence at the institution designated by thc Bureau of Prisons.
          -before 2. p.m. on -.
          - as notified by the United States Marshal.
          - as notified by the Probation or Pretrial Sewices Ofice.


                                                                      RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                             to
- at                                                                  , with a certified copy of this judgment.



                                                                                  United States Marshal

                                                                       By:
                                                                                           Deputy United States Marshal
       Case 8:07-cr-00151-JSM-E_J Document 128 Filed 10/05/07 Page 3 of 6 PageID 173
A 0 245B (Rev. 06/05) Sheet 3 - Supervised Release (Judgment in a Criminal Case)

Defendant:         BENlTO ROBERTO ZUNIGA                                                                         Judgment - Page 3of (,
Case No.:          8:07-cr-151-T-30EAJ
                                                          SUPERVISED RELEASE
        Upon release ti-om imprisonment, the defendant shall be on supervised release for a term of FIVE (5) YEARS as to Count
One of the Indictment.

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime. The defendant shall not unlawfully possess a controlled substance.
The defendant shall refrain G-om any u n l a h l use of a controlled substance. The defendant shall submit to one drug test within 15 days
of release from imprisonment and at least two periodic drug tests thereafter. as determined by the court.


         The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

         The defendant shall cooperate in the collection of DNA as directed by the probation of'ficer

          If this judgment imposes a fine or restitution it is a condition of supervised release that the defendant pay in accordance with the
          Schedule of Payments sheet of t h s judgment.

          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
          conditions on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
          the defendant shall not leave the judicial district without the permission of the court or probation officer;

          the defendant shall report to the probation otticer and shall submit a truthful and complete written report within the first five days of each
          month;

          the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer:

          the defendant shall support his or her dependents and meet other family responsibilities;

          the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;

          the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

          the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

          the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

          the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless panted permission to do so by the probation oflicer;

          the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;

          the defendant shall notify the probation oficer within seventy-two hours of being arrested or questioned by a law enforcement officer;

          the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforccrnent agency without the
          permission of the court; and

          as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the del'endant's criminal record
          or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's
          compliance with such notification requirement.
      Case 8:07-cr-00151-JSM-E_J Document 128 Filed 10/05/07 Page 4 of 6 PageID 174
A 0 245B (Rev. 06/05) Sheet 3C - Supervised Release (Jutigmcnt in a Criminal Case)

Defendant:         BENITO ROBERTO ZUNIGA                                                               Judgment - Page 4 of (,
Case No.:          8:07-cr-15 1-T-30EAJ

                                        SPECIAL CONDITIONS OF SUPERVISION

         The defendant shal I also comply with the following additional conditions of supervised release:

-
X        Should the defendant be deported, he/she shall not be allowed to re-enter the United States without the express permission of
         the appropriate governmental authority.

X
-        The defendant shall cooperate in the collection of DNA as directed by the probation officer.

-
X        The mandatory drug testing provisions shall apply pursuant to the Violent Crime Control Act. The Court authorizes random
         drug testing not to exceed 104 tests per year.
       Case 8:07-cr-00151-JSM-E_J Document 128 Filed 10/05/07 Page 5 of 6 PageID 175
 A 0 245B (Rev 06/05) Sheet 5 - Criminal Monctary Penalties (Judgment in a Criminal Case)

 Defendant:         BENITO ROBERTO ZUNIGA                                                              Judgment - Page 5 of 6
 Case No.:          8:07-cr- 151-T-30EAJ

                                           CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                             Assessment                           -
                                                                  Fine                       Total Restitution

          Totals:            $100.00                              Waived                     NIA


-         The determination of restitution is deferred until        .       An Amended Jlrdgnzent in a Criminal Case ( A 0 245C) will
          be entered after such determination.

-         The defendant must make restitution (including community restitution) to the following payees in the amount listed
          below.
          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. unless
          specified otherwise in the priority order or percentage pa ent column below. However, pursuant to 18 U.S.C. 5
          3664(i). all non-federal victims must be paid before the G t e d States.


 Name of Payee                                 Total Loss*                  Restitution Ordered                 Priority or Percentape




                             Totals:           lL                          k

 -        Restitution amount ordered pursuant to plea agreement $
 -        The defendant mwt pay interest on a fine or restitution of more than $2,500, unless the restitution or fine is paid in full
          before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 9 36 12(f). All of the payment options on Sheet
          6 may be subject to penalties for delinquency and default. pursuant to 18 U.S.C. $ 36 12(g).
 -        The court determined that the defendant does not have the ability to pay interest and it is ordered that:

         -        the interest requirement is waived for the - fine - restitution.
         -        the interest requirement for the - tine - restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A. 110, 110A, and 113A of Title 18 for the offenses committed
on or after September 13. 1994, but before April 23, 1996.
        Case 8:07-cr-00151-JSM-E_J Document 128 Filed 10/05/07 Page 6 of 6 PageID 176
A 0 245B (Rev 06/05) Sheet 6 - Schedule of Payments (Judgment in a Criminal Case)

Defendant:         BENITO ROBERTO ZUNIGA                                                                 Judgment - Page 6         o f 6
Case No.:          8:07-cr- 15 1-T-30EAJ



                                                   SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

                   Lump sum payment of $ 100.00 due immediately, balance due
                             -not later than                 , 01
                             -in accordance - C, - D, - E or -F below; or
                   Payment to begin immediately (may be combined with -C, -D, or -F below): or
                   Payment in equal          (e-g., weekly, monthly, quarterly) installments of $          over a period
                   of -(e-g., months or years), to commence             days (e.g., 30 or 60 days) after the date of this
                   judgment; or
                   Payment in equal             (e.g., weekly, monthly, quarterly) installments of $           over a period of
                              , (e.g., months or years) to commence                     (e.g. 30 or 60 days) after release from
                   imprisonment to a term of supervision; or
                   Payment during the term of supervised release will conlmence within                 (e.g., 30 or 60 days)
                   after release from imprisonment. The court will set the payment plan based on an assessment of the
                   defendant's ability to pay at that time, or
                   Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment. payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons' Inmate Financial Responsibility Progam, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Nurnbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
X
-        The defendant shall forfeit the defendant's interest in the following property to the United States:
        The Court orders that the defendant forfeit to the United States immediately and voluntarily any and all assets and
property, or portions thereof, subject to forfeiture. which are in the possession or control of the defendant or the defendant's
nominees.
Payments shall be applied in the following order: (1) assesstnent, (2) restitution principal, (3) restitution interest, (4) fme principal. ( 5 )
fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
